Case 8:13-cv-00239-DOC-DFM Document 111 Filed 02/04/14 Page 1 of 1 Page ID #:1908



                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

   Case No. SACV 13-0239-DOC (DFMx)                                        Date: February 4, 2014

   Title: MEGGITT (SAN JUAN CAPISTRANO), INC., ET AL. v. NIE YONGZHONG,
        ET AL.

   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                  Julie Barrera                                 Not Present
                 Courtroom Clerk                               Court Reporter

   ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:
                  None Present                                     None Present



         PROCEEDINGS (IN CHAMBERS): ORDER GRANTING MOTION FOR
                                    LEAVE TO FILE FIRST AMENDED
                                    COMPLAINT AS UNOPPOSED [92]

           Before the Court is Plaintiff Meggitt San Juan Capistrano, Inc.’s Motion for Leave
   to File First Amended Complaint (Dkt. 92). Pursuant to Local Rule 7-9, Defendant’s
   opposition to this motion was due on February 3, 2014. On that date, Defendant filed a
   Statement of Non-Opposition to the Motion.

       Accordingly, pursuant to Local Rule 7-12, the Motion is hereby GRANTED AS
   UNOPPOSED.

         The Clerk shall serve this minute order on the parties.

   MINUTES FORM 11
   CIVIL-GEN                                                        Initials of Deputy Clerk: jcb
